
In re Washington, Charles D.;—Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Concordia, 7th Judicial District Court Div. B, Nos. 08-0468, 08-0309, 09-0584; to the Court of Appeal, Third Circuit, No. KH 13-00064.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030.
